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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION

  EMW WOMEN’S SURGICAL CENTER,
  P.S.C. and ERNEST MARSHALL, M.D.,                                                 Plaintiffs,

  v.                                                   Civil Action No. 3:19-cv-178-DJH-RSE

  SECRETARY OF KENTUCKY’S CABINET
  FOR HEALTH AND FAMILY SERVICES
  et al.,                                                                         Defendants.

                                           * * * * *

                                            ORDER

        In light of the United States Supreme Court’s ruling in Dobbs v. Jackson Women’s Health

 Organization, No. 19-1392, 2022 U.S. LEXIS 3057 (June 24, 2022), and the Court being otherwise

 sufficiently advised, it is hereby

        ORDERED as follows:

        (1)       The motion to dissolve (Docket No. 93) is GRANTED. The temporary restraining

 orders entered on March 15, 2019 (D.N. 14), and March 20, 2019 (D.N. 21), and extended on

 March 27, 2019 (D.N. 32), are DISSOLVED.

        (2)       Plaintiffs’ motion to dismiss (D.N. 92) is GRANTED. This matter is DISMISSED

 pursuant to Federal Rule of Civil Procedure 41(a)(2) and STRICKEN from the Court’s active

 docket. All other pending motions are DENIED as moot.

         June 29, 2022




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